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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT

In re:                                            )
                                                  )         Case No.
ROBIN DELANEY,                                    )         12-21924 (ASD)
Debtor                                            )
                                                  )         Chapter 7
                                                  )
DONNA PARRIS,                                     )
Plaintiff,                                        )         Consolidated
v.                                                )         Adversary Proceeding
ROBIN DELANEY,                                    )         No. 12-02078
Defendant.                                        )
                                                  )

In re:                                            )
                                                  )
CHARLES PAPPAS,                                   )
Debtor                                            )
                                                  )
                                                  )
DONNA PARRIS,                                     )
Plaintiff,                                        )
v.                                                )
CHARLES PAPPAS,                                   )
Defendant.                                        )
                                                  )

     NOTICE REGARDING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         On February 1, 2013, the Plaintiff moved for summary judgment in this consolidated

proceeding. See Docket Entrires 17, 18. The Defendants’ opposition to that motion was due

February 22, 2013.     See D. Conn. LBR 1001-1 (incorporating D. Conn. L. Civ. R. 7(a)

(providing that memoranda in opposition to motions “shall be filed within twenty-one (21) days

of the filing of the motion”)). To date, the Defendants have not opposed the Plaintiff’s motion.




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         For this reason, as well as those reasons set forth in the Plaintiff’s motion and supporting

memorandum of law, the Plaintiff respectfully requests that the Court enter judgment in the

Plaintiff’s favor.1

Date: March 1, 2013                            DONNA PARRIS, PLAINTIFF



                                               By:       /s/ Michael J. Coolican
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                                                     Her attorneys


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  See D. Conn. L. Civ. R. 7(a) (providing that “[f]ailure to submit a memorandum in opposition
to a motion may be deemed sufficient cause to grant the motion, except where the pleadings
provide sufficient grounds to deny the motion”); Pepsi-Cola Newburgh Bottling Co. v. Silver (In
re Silver), 166 B.R. 15, 18 (Bankr. D. Conn. 1994) (granting summary judgment where non-
moving party did not respond to motion); see also Fed. R. Civ. P. 56(e)(3) (providing that non-
moving party’s failure to appropriately contest movant’s assertions of fact can result in granting
of motion where undisputed facts demonstrate entitlement to summary judgment); D. Conn. L.
Civ. R. 56(a)(3) (same); Local 1336, Amalgamated Transit, Union, AFL-CIO v. First Student,
Inc., 3:11-CV-1850, 2013 WL 588199, at *1-2 (D. Conn. Feb. 13, 2013) (deeming certain facts
admitted and ultimately granting summary judgment where non-moving party failed to respond
to summary judgment motion); Bugnacki v. Bugnacki (In re Bugnacki), 439 B.R. 12, 18 (Bankr.
D. Conn. 2010) (deeming certain facts admitted and ultimately granting summary judgment
where non-moving party’s counter-statement of facts did not comply fully with local rules).
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 1, 2013, a copy of the foregoing has been forwarded to all

counsel of record by operation of the Court's CM/ECF system.



                                              /s/ Michael J. Coolican
                                                  Michael J. Coolican




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